Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 1 of 23. PageID #: 505846




                        EXHIBIT D
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 2 of 23. PageID #: 505847
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 3 of 23. PageID #: 505848
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 4 of 23. PageID #: 505849
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 5 of 23. PageID #: 505850
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 6 of 23. PageID #: 505851
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 7 of 23. PageID #: 505852
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 8 of 23. PageID #: 505853
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 9 of 23. PageID #: 505854
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 10 of 23. PageID #: 505855
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 11 of 23. PageID #: 505856
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 12 of 23. PageID #: 505857
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 13 of 23. PageID #: 505858
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 14 of 23. PageID #: 505859
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 15 of 23. PageID #: 505860
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 16 of 23. PageID #: 505861
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 17 of 23. PageID #: 505862
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 18 of 23. PageID #: 505863
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 19 of 23. PageID #: 505864
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 20 of 23. PageID #: 505865
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 21 of 23. PageID #: 505866
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 22 of 23. PageID #: 505867
Case: 1:17-md-02804-DAP Doc #: 3555-33 Filed: 11/13/20 23 of 23. PageID #: 505868
